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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                         CASE NOS.: 3:14cr98/MCR/CJK
                                                      3:15cv531/MCR/CJK
TERRANCE T. STONE
______________________________/

                                     ORDER

       This cause comes on for consideration upon the magistrate judge's Report and

Recommendation dated August 28, 2018. ECF No. 682. The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). I have made a de novo determination of any timely filed objections.

       Having considered the Report and Recommendation, and any objections

thereto timely filed, I have determined that the Report and Recommendation should

be adopted.

       Accordingly, it is now ORDERED as follows:

       1.     The magistrate judge’s Report and Recommendation is adopted and

              incorporated by reference in this Order.
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      2.    The Second Amended Motion to Vacate, Set Aside, or Correct

            Sentence, ECF No. 605, as amended, is DENIED.

      3.    A certificate of appealability is DENIED.

      DONE AND ORDERED this 9th day of October 2018.




                                      s/   M. Casey Rodgers
                                     M. CASEY RODGERS
                                     UNITED STATES DISTRICT JUDGE




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